                  Case 8:13-cv-02330-DKC Document 2 Filed 08/12/13 Page 1 of 2

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                     IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND
                                                                                        __      FILED            ENTERED
                                                                                        __      LOGGED __        RECEIVED
            James E. Clarke                                   )
            Renee Dyson                                       )
                                                              )
                                                                                                  AUG 1 2 2013
            Shannon Menapace
                   Substitute Trustees                        )                AT GREENBELT
            PO Box 2548                                   )              CLERK, U.S.DISTRICT COURT
            Leesburg, VA 20177                            )                DISTRICT OF MARYLAND
                                                          ) Civil No. BY                       DEPUTY
                     P-Iaintiffs                          )
     v.                                                   )
                                                          )
      Carlv.e~unn        and Paula N. Graham-Dunn         )
      11941 SamtFrancisWay       -- •. --.---- .• ''''--' )---
     Bowie, MD 20721                                      )
                                                          )
                    Defendants                            )
                                                          )
                                    THIS IS A RESIDENTIAL PROPERTY
                PROPERTY ADDRESS: 11941 SAINT FRANCIS WAY, BOWIE, MD 20721
                           ORDER TO DOCKET RESIDENTIAL FORECLOSURE
 Clerk:
         THE PARTIES HAVE NOT ELECTED TO PARTICIPATE IN PREFILE MEDIATION.

               Please docket this case and accept the following exhibits herein:

              1. Preliminary Loss Mitigation Affidavit Pursuant to Md. Code, Real Property, !i 7-
                  105. 1(e){2)(x){2) and Md. Rule 14-207(b)(8)
              2. Md. Rule 14-207(b)(6) Residential Property Statement
              3. Md. Rule 14-207(b)(1) Deed ofTrust Affidavit
              4. Deed of Trust [Pursuant to Md. Code, Real Property, !i 7-105.1 (e)(2)(i) and Md. Rule 14-
                  207(b){1»)
              5. Md. Code, Real Property,!i 7-105.1(e)(1)(ii) and 7-105. 1(e)(2)(ii) and Md. Rule 14-207(b)(2)
                  Debt and Right to Foreclose Affidavit
              6. Md. Code, Real Property,!i 7-105.1(e)(2)(iii) and Md. Rule 14-207(b)(3) Note Affidavit
              7. Nole [Pursuant to Md. Code, Real Property!i 7-105.1(e)(2){iii) and Md. Rule 14-207(b)(3)]
              8. Md. Rule 14-207(b)(4) Assignment/Appointment Affidavit with Attachments Required by Md.
                  Code, Real PropertY!i 7-105.1(e)(2)(iv)
              9. Md. Code, Real PropertY,!i 7-105.1(e)(2){v) and Md. Rule 14-207(b)(5) Non.Military Status
                  Affidavit
              10. Md. Code, Real Property, 9 7-105.1(e)(1)(ii)(1) and Md. Rule 14-207(b){8) Default Affidavit
                  and Notice of Intent to Foreclose Affidavit
              11. Notice of Intent to Foreclose [Pursuant to Md. Code, Real Property, 9 7-105.1(e)(2){vi) and
                  Md. Rule 14-207(b)(B)J
              12. Lin,: of Appearance and Md. Rule 1-313 Certification

               Name of Mortgage Lender (if applicable):               First Home Mortgage
                                                                      Corporation
               Maryland Mortgage Lender License Number:               N/A
               Name of Mortgage Originator (if applicable):           N/A
               Maryland Mortgage Originator License Number:           N/A
           Case 8:13-cv-02330-DKC Document 2 Filed 08/12/13 Page 2 of 2




NOTE TO COURT: This Order to Docket was sent for service on Defendant(s) in accordance with
Md. Code, Real Property, section 7-105.1 (f) and the Commissioner       of Financial Regulation's
adopted regulations found in COMAR 09.03.12, Separate affidavit(s) of service on Defendant(s)
will be filed in this foreclosure action, which will specify the color (if any), sequence, and
documents that were served.

NOTE TO DEFENDANTS: The sequence of the above exhibits filed with the Court may not be the
exact sequence in which these documents will have been served on you. Additionally, you may
have received notices and attachments that are not expressly listed above. This Order to Docket
cover page was filed with the Court and is Included in what we are serving on you so that you
will iecei'te all papers filed with the Court.


                                          RESPECTFULLY       SUBMITIED




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                                                                               i")


                                                 ~James E. Clarke
                                                 _ Renee Dyson
                                                    ,shannon Menapace
                                                 ~ Erin M. Cohen
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                                                 Fax (703) 940-9110
                                                 ALG 531074
